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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JACQUELINE STEVENS,                               )
                                                   )
                                Plaintiff,         )
                                                   )
                        v.                         )    No. 17 C 2853
                                                   )
 U.S. DEPARTMENT OF HOMELAND                       )    Judge Pallmeyer
 SECURITY, IMMIGRATION AND                         )
 CUSTOMS ENFORCEMENT,                              )
                                                   )
                                Defendant.         )

                   LR 56.1 STATEMENT OF MATERIAL FACTS
        IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Defendant U.S. Department of Homeland Security, Immigration and Customs

Enforcement (“ICE”), by its attorney, John R. Lausch, Jr., United States Attorney for the Northern

District of Illinois, submits the following statement of material facts as to which there is no genuine

issue pursuant to Local Rule 56.1 of the United States District Court for the Northern District of

Illinois.

                                      Jurisdiction and Venue

        1.     This is an action brought under the Freedom of Information Act (“FOIA”), and the

court has subject matter jurisdiction over this action pursuant to 5 U.S.C. § 552 and 28 U.S.C.

§ 1331. Dkt. 8, Answer ¶¶ 1, 3.

        2.     Venue is proper in this district under 5 U.S.C. § 552(a)(4)(B) because plaintiff

Jacqueline Stevens resides within this district. Id. ¶ 3.
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                                             Parties

       3.      Plaintiff Jacqueline Stevens is a Professor of Political Science and the Director of

the Deportation Research Clinic at Northwestern University in Cook County, Illinois. Id. ¶ 4.

       4.      ICE is a component of the U.S. Department of Homeland Security and an agency

of the United States within the meaning of 5 U.S.C. § 552(f)(1). Id. ¶ 5.

                                        Undisputed Facts

       5.      The U.S. Department of Homeland Security is charged with the administration and

enforcement of laws relating to the immigration and naturalization of aliens, subject of certain

exceptions. Ex. A, Pavlik-Keenan Decl. ¶ 50.

       6.      ICE is the principal investigative arm of the department and is tasked with

preventing any activities that threaten national security and public safety by, among other things,

investigating individuals who may be present in the United States illegally. Id. ¶¶ 18, 50-51.

       7.      Since November 2015, ICE has had a procedure in place that requires its officers,

agents, and attorneys to carefully and expeditiously assess the potential U.S. citizenship of any

individual encountered by ICE, whether that individual makes an affirmative claim of citizenship

or ICE personnel before aware of certain indicia of citizenship. Id. ¶¶ 20-25.

       8.      Regardless of the citizenship-claim trigger (affirmative claim or indicia), ICE

documents these citizenship claims via alert emails to shared inboxes maintained by two ICE

program offices: the Office of the Principal Legal Advisor (“OPLA”) and Enforcement Removal

Operations (“ERO”). Id.

       9.      A citizenship claim also prompts the creation of a memorandum containing a

factual examination and legal analysis of the claim. Id.




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       10.     Each memorandum is created by an OPLA attorney working in conjunction with

ICE officers and agents, assesses the citizenship claim, and recommends a course of action. Id.

       11.     The memorandum is then submitted by the OPLA attorney to the ERO and

Immigration Law and Practice Division of OPLA at ICE Headquarters.               Id.   Because the

memorandum is prepared by an agency attorney and contains a recommendation regarding the

citizenship claim, it is marked draft, pre-decisional and deliberative, privileged attorney-client

communication, attorney work product, and as containing sensitive personally identifiable

information. Id.

       12.     The ERO and Immigration Law and Practice Division subsequently respond to the

memorandum by concurring or dissenting with the recommended course of action. Id.

       13.     Once that final decision is rendered, the memorandum is finalized and sent by email

to the shared inboxes maintained by ERO and OPLA. Id.

       14.     ICE officers and agents also make a notation of the final decision in the appropriate

case management system and/or databases and place a copy of the memorandum and resulting

decision—marked as attorney work product, attorney-client communication, and as containing

sensitive PII—in the appropriate case management system and/or databases. Id. ICE attorneys

similarly save a copy of the memorandum and document the resulting decision and other

information in OPLA’s case-management system. Id.

       15.     Stevens submitted a FOIA request to ICE in February 2017 seeking “all

correspondence on the detention or removal proceedings for people claiming or providing U.S.

citizenship since January 1, 2017. This request includes, but is not limited to email received by or

sent to an email address established by ICE for the purpose of assessing claims of US citizenship.”

Id. ¶ 7. The request further stated that Stevens was “requesting all correspondence as well as all



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attachments and referenced reports, notes, text messages, or any other information maintained in

any medium associated with the reported cases.” Id. The time frame of the request was January

1, 2017, to the present. Id.

       16.     Stevens subsequently filed this lawsuit in April 2017. Id. ¶ 9.

       17.     Following receipt and review of Stevens’s FOIA request, the ICE FOIA office

determined that OPLA and ERO were the only program offices likely to have records responsive

to the request and instructed these two offices to search for and provide all responsive records to

the ICE FOIA office for review and processing. Id. ¶¶ 14-19.

       18.     In response, OPLA collected correspondence and any accompanying attachments

from the attorneys who drafted citizenship-claim memoranda from January 1, 2017, to about mid-

May 2017, as requested in Stevens’s FOIA request, as well as correspondence and accompanying

attachments to and from attorneys that was sent to the OPLA shared-email inbox for U.S.

citizenship claims. Id. ¶¶ 11, 26-29.

       19.     OPLA then provided these documents to the ICE FOIA office in May 2017. Id.

       20.     ERO, on the other hand, concluded following a review of its shared-email inbox

that it would not possess any responsive documents that differed from the responsive documents

OPLA collected in response to Stevens’s FOIA request, and it thus deferred to OPLA to provide

the responsive documents to the ICE FOIA office. Id. ¶¶ 30-35.

       21.     The ICE FOIA office reviewed the responsive documents provided by OPLA and

determined that the documents contained sensitive and/or privileged information as well as

personally identifiable information. Id. ¶ 36.

       22.     As a result, the ICE FOIA office conducted a line-by-line review of each responsive

document, applied redactions to the documents in accordance with FOIA exemptions 5, 6, 7(C),



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and 7(E), and released the documents to Stevens over multiple productions between July 2017 and

April 2018. Id. ¶¶ 11-13, 40-66.

       23.     ICE also confirmed that all information not exempted from disclosure by FOIA

exemptions 5, 6, 7(C), and 7(E) was correctly segregated and released to Stevens. Id. ¶¶ 64-66.

ICE did not withhold any non-exempt information on the grounds it was non-segregable. Id.

       24.     ICE subsequently prepared a Vaughn index describing each redaction and the

applicable exemption in the first 150 pages of two productions ICE made to Stevens, as agreed to

by the parties. Id. ¶¶ 6, 37-40.

       25.     The redactions and applicable exemptions described in the Vaughn index ICE has

prepared are representative of those in the remaining documents ICE produced to Stevens in

response to her FOIA request. Id. ¶ 37.

                                            Respectfully submitted,

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